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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

  IN RE:                                        )      CASE NO: 18-52286-JRS
                                                )
  STACIE DANIELLE HUDGINS                       )      CHAPTER 13
                                                )
           DEBTOR                               )

           NOTICE OF HEARING ON CONFIRMATION OF PLAN AND OF
           DEADLINE FOR OBJECTIONS TO CONFIRMATION OF PLAN

        PLEASE TAKE NOTICE that the Debtor(s) has/have filed a Chapter 13 Plan
  which may materially and adversely change the treatment or rights of creditors.

         Your rights may be affected. You should read the Chapter 13 Plan carefully
  and discuss it with your attorney, if you have one in this bankruptcy case. If you do
  not have an attorney, you may wish to consult one.

          If you oppose confirmation of the Chapter 13 Plan, and do not want the court to
  confirm it, or if you want the Court to consider your views, then not less than seven days
  before the hearing on confirmation scheduled below, you or your attorney must:

           (1) File with the court a written objection, explaining your positions and views as
  to why the court should not confirm the Chapter 13 Plan. The written objection must be
  filed at the following address:

         Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, SW, Atlanta,
  Georgia 30303.

          If you mail your response to the Clerk for filing, you must mail it early enough so
  that the Clerk will actually receive it not less than seven days before the hearing on
  confirmation scheduled below.

          (2) Mail or deliver a copy of your written objection to the Debtor's attorney at the
  address stated below and to the Chapter 13 Trustee. You must attach a certificate of service
  to your written objection, stating when, how, and on whom (including addresses) you
  served the objection.

         If you or your attorney do not file a timely objection, the court may decide that you
  do not oppose confirmation of the Chapter 13 plan.

        A hearing on confirmation of the Chapter 13 Plan, will be held in Courtroom 1404,
  United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303 at
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  10:00 A.M. on July 10, 2018. You or your attorney must attend the hearing and advocate
  your position.


  Dated: June 4, 2018

  __/s/________________
  Howard Slomka, Esq.
  GA Bar #652875
  Attorney for Debtor
  Slipakoff and Slomka, PC
  Overlook III
  2859 Paces Ferry Rd, SE
  Suite 1700
  Atlanta, GA 30339
  (404) 800-4001
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                 IN THE UNITED STATES BANKRUPTCY COURT
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  IN RE:                                    )       CASE NO: 18-52286-JRS
                                            )
  STACIE DANIELLE HUDGINS                   )       CHAPTER 13
                                            )
           DEBTOR                           )

                              CERTIFICATE OF SERVICE

  This is to certify that I have this day served a copy of the within and NOTICE OF
  HEARING ON CONFIRMATION OF PLAN AND OF DEADLINE FOR
  OBJECTIONS TO CONFIRMATION OF PLAN, in the above styled case by
  depositing same in the United States mail with the adequate postage affixed thereto to
  insure delivery addressed as follows:

  Farmers Insurance
  4680 Wilshire Blvd
  Los Angeles CA 90036

  Georgia Natural Gas
  PO Box 105445
  Atlanta GA 30348

  Jackson EMC
  PO Box 100
  Lawrenceville GA 30045

  DATED: June 4, 2018

  ____/s/______
  Howard P. Slomka
  Georgia Bar #652875
  Attorney for the Debtor
  Slipakoff & Slomka, PC
  Overlook III
  2859 Paces Ferry Rd, SE
  Suite 1700
  Atlanta, GA 30339
